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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )   Case No. 1:20cr00015
                                              )
COLE CARINI,                                  )         ORDER
    Defendant,                                )


      This matter is before the court on oral motions to schedule the jury trial of this
matter outside of the time requirements of the Speedy Trial act, made jointly by the
Government and defendant, (“Motions”). Upon consideration of the Motions, the
Motions are GRANTED, and it is ORDERED that the jury trial of the charges against
the defendant is CONTINUED to December 9-11, 2020. The court finds that the ends
of justice served by the granting of a continuance of the defendant’s trial outweigh the
best interests of the public and the defendant in a speedy trial. The court makes this
finding because a failure to grant this continuance would deny counsel adequate time
to effectively defend this case, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv).
Accordingly, it is ORDERED that the trial and Speedy Trial Act time in this case is
continued until December 9-11, 2020.

      ENTER:       July 17, 2020.
                                       /s/   Pamela Meade Sargent
                                             UNITED STATES MAGISTRATE JUDGE
